












Dismissed and
Memorandum Opinion filed December 2, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-05-01211-CV

____________

&nbsp;

CAROL ANN NORRA, Appellant

&nbsp;

V.

&nbsp;

HARRIS COUNTY, TEXAS, TEXAS COMMISSION OF
ENVIRONMENTAL QUALITY, AND TEXAS DEPARTMENT OF HEALTH, Appellees

&nbsp;

&nbsp;

&nbsp;



On Appeal from the 55th District Court

Harris County, Texas

Trial Court Cause No. 2003-10164

&nbsp;

&nbsp;

&nbsp;



M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This is an appeal from a judgment signed August 25, 2005.&nbsp; On
January 29, 2009, this court abated the appeal because appellant petitioned for
voluntary bankruptcy in the United States Bankruptcy Court for the Southern
District of Texas, under cause number 08-38157.&nbsp; See Tex. R. App. P. 8.2.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on July 15,
2010.&nbsp; The parties failed to advise this court of the bankruptcy court action.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On November 4, 2010, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Justices
Seymore, Boyce, and Christopher.





